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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MAURICE TAYLOR                                   :              CIVIL ACTION
          Plaintiff                               :
                                                  :              NO. 23-785
               v.                                 :
                                                  :
 CITY OF PHILADELPHIA d/b/a                       :
 CURRAN-FROMHOLD                                  :
 CORRECTIONAL FACILTIY et al.,                    :
            Defendants                            :

                                             ORDER
   AND NOW, this 18th day of July 2023, pursuant to Federal Rules of Civil Procedure (“Rules”)

16 and 26, it is hereby ORDERED that:

   1. each party must, without awaiting discovery request, provide the disclosures contemplated

      by Rule 26(a) to any other parties within fourteen (14) days of the date of this Order;

   2. the parties shall commence discovery immediately; and

   3. the parties shall file a written joint report of their Rule 26(f) meeting by no later than

      August 16, 2023.

      Failure to submit the Rule 26(f) report will result in this Court establishing the applicable

   deadlines without the input of counsel.




                                             BY THE COURT:


                                             /s/ Nitza I. Quiñones Alejandro
                                             NITZA I. QUIÑONES ALEJANDRO
                                             Judge, United States District Court
